 USCA11 Case: 23-13649             Document: 15     Date Filed: 01/02/2024   Page: 1 of 46



                                         No. 23-13649-H


                    IN THE UNITED STATES COURT OF APPEALS
                              ELEVENTH CIRCUIT


                       TIMOTHY BURKE v. UNITED STATES




            On Appeal from the United States District Court for the Middle
                         District of Florida, Tampa Division

                                        No. 8:23-mc-14
                                   Hon. Mag. J. Sean P. Flynn

 BRIEF OF AMERICAN CIVIL LIBERTIES UNION, AMERICAN CIVIL
    LIBERTIES UNION OF FLORIDA, FREEDOM OF THE PRESS
   FOUNDATION, FLORIDA FIRST AMENDMENT FOUNDATION,
    FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION,
NATIONAL PRESS CLUB, AND NATIONAL PRESS CLUB JOURNALISM
   INSTITUTE AS AMICI CURIAE SUPPORTING APPELLANT AND
                        REVERSAL


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 USCA11 Case: 23-13649             Document: 15     Date Filed: 01/02/2024   Page: 2 of 46



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 USCA11 Case: 23-13649         Document: 15      Date Filed: 01/02/2024   Page: 3 of 46



               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Appellate Procedure Rule 26.1 and Eleventh

Circuit Rule 26.1-1, Amici provide the following certificate of interested persons, in

addition to those listed in the first brief filed:

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                                          C-1 of 2
 USCA11 Case: 23-13649      Document: 15     Date Filed: 01/02/2024   Page: 4 of 46



      Pursuant to Rule and 29(a)(4)(A) of the Federal Rules of Appellate Procedure,

amici curiae state that they do not have a parent corporation and that no publicly

held corporation owns 10% or more of their stock.

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                                      C-2 of 2
 USCA11 Case: 23-13649                   Document: 15            Date Filed: 01/02/2024              Page: 5 of 46



                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... iii

STATEMENT OF INTEREST OF AMICI CURIAE .................................................1

INTRODUCTION AND SUMMARY OF ARGUMENT .........................................3

BACKGROUND FACTS ..........................................................................................5

ARGUMENT .............................................................................................................8

   I. The First Amendment protects modern journalism involving the collection of

   information from publicly available sources online, including by accessing

   obscure URLs. ........................................................................................................8

   II. The breadth and vagueness of the CFAA and the Wiretap Act can chill First

   Amendment protected newsgathering activities, particularly where (as here) the

   government keeps its rationale for potential charges secret. ................................12

      A. The government appears to be interpreting the CFAA in a dangerously

      overbroad manner despite Supreme Court case law warning against overreach.

      ……………………………………………………………………………..... 12

      B. The government appears to be reading the Wiretap Act in a way that would

      make access to and distribution of publicly available information a crime,

      thereby chilling First Amendment-protected online newsgathering. ................14




                                                            i
 USCA11 Case: 23-13649                 Document: 15           Date Filed: 01/02/2024              Page: 6 of 46



     C. Journalists have good reason to fear the DOJ’s interpretations of the CFAA

     and the Wiretap Act because these laws have been used in the past to silence

     journalists for their critical coverage of important issues of the day. ...............16

     D. The public is entitled under the common law to see the warrant affidavit,

     with any redactions necessary to protect individual privacy, sources, or other

     sensitive information. ........................................................................................22

  III. The government should return seized materials that are not related to the case

  and should copy or otherwise allow access to materials that enable Burke to

  fulfill his newsgathering function.........................................................................23

      A. Constitutional law and federal policy require that seizures of materials

      related to newsgathering be limited. .................................................................24

      B. The government has minimized the importance of safeguards it originally

      touted as meaningful protections for reporters, raising important questions

      about whether it is following rules journalists rely on......................................27

CONCLUSION ........................................................................................................29




                                                         ii
 USCA11 Case: 23-13649                   Document: 15            Date Filed: 01/02/2024             Page: 7 of 46



                                      TABLE OF AUTHORITIES

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J.H. Desnick v. Am. Broad. Cos., Inc.,

44 F.3d 1345 (7th Cir. 1995) ....................................................................................14

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                                                           iii
 USCA11 Case: 23-13649                  Document: 15            Date Filed: 01/02/2024             Page: 8 of 46



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                                                          iv
 USCA11 Case: 23-13649                  Document: 15           Date Filed: 01/02/2024              Page: 9 of 46



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                                                          v
 USCA11 Case: 23-13649                 Document: 15           Date Filed: 01/02/2024             Page: 10 of 46



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                                                            viii
USCA11 Case: 23-13649                   Document: 15            Date Filed: 01/02/2024              Page: 13 of 46



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USCA11 Case: 23-13649                    Document: 15             Date Filed: 01/02/2024                Page: 14 of 46



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USCA11 Case: 23-13649                  Document: 15            Date Filed: 01/02/2024              Page: 15 of 46



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REGULATIONS

Statements of Policy, 28 C.F.R. § 50 ................................................................ 32, 33




                                                          xi
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024    Page: 16 of 46



              STATEMENT OF INTEREST OF AMICI CURIAE 1

      The American Civil Liberties Union (ACLU) is a nationwide, nonprofit,

nonpartisan organization dedicated to defending the principles of liberty and equality

embodied in the United States Constitution and civil rights laws. The American Civil

Liberties Union of Florida is a state affiliate of the national ACLU.

      The First Amendment Foundation is a nonpartisan, nonprofit organization,

based in Florida and dedicated to safeguarding and promoting the fundamental

freedoms of expression recognized in the First Amendment.

      The Foundation for Individual Rights and Expression (FIRE) is a nonpartisan,

nonprofit organization dedicated to defending the individual rights of all Americans

to free speech and free thought—the essential qualities of liberty.

      Freedom of the Press Foundation (FPF) is a nonprofit organization that

protects, defends, and empowers public-interest journalism.

      The National Press Club is the world’s leading professional organization for

journalists. Founded in 1908, the Club has 3,100 members representing most major

news organizations.




1
  Pursuant to Rule 29(a)(2), counsel for amici curiae state that all parties have
consented to the filing of this brief. Pursuant to Rule 29(a)(4)(E), counsel for amici
curiae certify that no person other than amici curiae, their members, or their counsel
made a monetary contribution to the presentation or submission of this brief. No
current counsel for a party authored this brief in whole or in part.

                                          1
USCA11 Case: 23-13649      Document: 15      Date Filed: 01/02/2024   Page: 17 of 46



      The National Press Club Journalism Institute is the non-profit affiliate of the

National Press Club, founded to advance journalistic excellence for a transparent

society.




                                         2
USCA11 Case: 23-13649       Document: 15     Date Filed: 01/02/2024   Page: 18 of 46



            INTRODUCTION AND SUMMARY OF ARGUMENT

      Because of the search warrant executed in this case, journalists are rightfully

concerned that the government considers routine, modern-day newsgathering

techniques—including accessing unencrypted and unsecured websites—to be

criminal under the Wiretap Act and the Computer Fraud and Abuse Act (CFAA).

While important facts about this case are under seal, it appears that the government

investigated Mr. Burke, and seized his journalist work product, after he accessed an

unencrypted video stream and publicized its embarrassing and newsworthy contents.

The Internet address, or URL 2, for that stream was listed on a webpage that anyone

could access with a publicly available username and password. But the Department

of Justice’s (DOJ) legal interpretation—whether the government thinks that

accessing published, unencrypted, but difficult-to-guess URLs violates the law—

remains secret because the search warrant affidavit remains sealed.

       If that newsgathering activity alone served as the basis for the search and

seizure in this case, it would run afoul of the First Amendment. Even if there was

something more, the current secrecy and resulting ambiguity will chill legitimate

newsgathering. That is why over 50 organizations, including amici, sent a letter to




2
  The URL, or Uniform Resource Locator, is like an address for a webpage or other
information transmitted over the web, and takes a form similar to www.aclu.org.

                                         3
USCA11 Case: 23-13649        Document: 15     Date Filed: 01/02/2024   Page: 19 of 46



the DOJ seeking transparency about why the government believes Timothy Burke’s

newsgathering broke the law. 3

      This Court can address that transparency problem by ordering the probable

cause affidavit unsealed, subject to necessary redactions, to reveal the government’s

legal theories. That way, to the extent that the investigation of Burke hinges on

conduct other than routine online newsgathering, other journalists will be reassured

that they can do their constitutionally protected work without fear of being raided by

federal agents.

      Additionally, the Court should order the government to return any seized

information that is not relevant to a legitimate criminal investigation as well as the

tools and instrumentalities Burke uses for his newsgathering. Burke needs his

hardware to preserve his research, especially since Google recently threatened to

delete his remote storage account. 4 Returning these materials is essential to preserve




3
  Press Release, Freedom of the Press Foundation, Rights Orgs, Broadcasters
Demand Info On FBI Raid Of Journalist’s Home (Oct. 4, 2023),
https://freedom.press/news/rights-orgs-broadcasters-demand-info-on-fbi-raid-of-
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enough-time-to-transfer-the-data/.

                                          4
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024    Page: 20 of 46



Burke’s constitutional right to engage in timely reporting. It is also required to ensure

compliance with the Privacy Protection Act of 1980 (PPA) and DOJ regulations.

                              BACKGROUND FACTS

      Timothy Burke is an investigative journalist with a history of noteworthy

reporting. He broke the story that Notre Dame linebacker Manti Te’o was the victim

of an elaborate online romantic hoax. 5 Burke also created an influential video essay

assembling dozens of video clips of Sinclair Broadcast Group news anchors across

the U.S. intoning an identical script criticizing “fake news.” 6 He has served as a

director of video news at The Daily Beast and Gizmodo Media Group. He has over

116,000 followers on X.com.

      This case apparently arises from Burke’s May 2023 reporting about an

interview between Tucker Carlson, at the time an anchor with Fox News, and

performer Kanye West (Ye). 7 Burke located an unedited livestream of the interview,

in which Ye made unaired antisemitic and racist comments.


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  Timothy Burke and Jack Dickey, Manti Te’o’s Dead Girlfriend, The Most
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7
  See Christopher Spata, Dan Sullivan and Justin Garcia, Tucker Carlson, Fox
News hacks tied to FBI search of Tampa council member’s home, Tampa Bay
Times (May 26, 2023),

                                           5
USCA11 Case: 23-13649        Document: 15     Date Filed: 01/02/2024   Page: 21 of 46



       Burke claims the livestreams were unencrypted, publicly accessible feeds.

Anyone who typed the URL for these feeds into a web browser would be able to see

them. Although the URLs were not published in any search engine, 8 Burke was able

to see a list of them on a webpage created by a company that provides video

streaming services to broadcasters. People could access this webpage with a

username and password. The username and password that Burke used were posted

publicly online, apparently by their owner, without any restriction on their use. The

streaming service often distributed “demo” credentials for free to entities that wanted

to try the service.

       Fox News, according to Burke’s lawyers, claimed to the Federal Bureau of

Investigation (FBI) that the unedited live streams had been “hacked.” 9 In May, FBI

agents searched Burke’s home and seized equipment and work product, as well as

other documents belonging to him and his wife, Tampa Florida Councilwoman Lynn

Hurtak. The government suspects Burke of violating the CFAA, 18 U.S.C. § 1030,


https://www.tampabay.com/news/tampa/2023/05/26/tucker-carlson-fox-news-
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8
  A software program is capable of guessing many URLs in rapid succession,
which can reveal Internet-published information without the user relying on a
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address.
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act/70619490007/.

                                          6
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 22 of 46



and of unlawfully intercepting electronic communications in violation of the Wiretap

Act, 18 U.S.C. § 2511. Search Warrant Record #1 Ex. 1, ECF No. 18-1.

      Burke moved to unseal the warrant and related materials. The Tampa Bay

Times intervened to urge the same. Mot. to Intervene 1-2, ECF No. 1. The district

court unsealed redacted versions of the search warrant records but denied the motion

to unseal the affidavit supporting the search warrant, a document which would reveal

why Burke was investigated. Search Warrant Record #1 Ex. 1, ECF No. 18-1. It cited

concern over revealing details of the government’s investigation.

      Burke also asked under Federal Rule of Criminal Procedure 41 for the

government to return his property. The district court treated that motion as a request

to exercise equitable jurisdiction and applied the test from Richey v. Smith, 515 F.2d

1239 (5th Cir. 1975). The court found that Burke did not meet the relevant Richey

factors, in particular because the government did not show “callous disregard” for

Burke’s First Amendment rights. It noted that, to obtain the warrant, the government

would have had to establish probable cause to believe that Burke’s home contained

the fruits, instrumentalities, and/or evidence of violations of 18 U.S.C. § 1030 and

18 U.S.C. § 2511.




                                          7
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 23 of 46



                                   ARGUMENT

I.    The First Amendment protects modern journalism involving the
      collection of information from publicly available sources online,
      including by accessing obscure URLs.


      The First Amendment protects the vital role journalism plays in keeping

powerful institutions accountable to the public. New York Times Co. v. United States

(Pentagon Papers), 403 U.S. 713, 714 (1971) (per curiam); New York Times Co. v.

Sullivan, 376 U.S. 254 (1964). “[S]tate action to punish the publication of truthful

information seldom can satisfy constitutional standards.” Smith v. Daily Mail Pub.

Co., 443 U.S. 97, 102 (1979). And “if a newspaper lawfully obtains truthful

information about a matter of public significance, then state officials may not

constitutionally punish publication of the information, absent a need . . . of the

highest order.” Id. at 103; see also Florida Star v. B.J.F., 491 U.S. 524 (1989);

Landmark Communications, Inc. v. Virginia, 435 U.S. 829 (1978).

      The same is true for gathering news. “[E]ntrenched in Supreme Court case

law is the principle that the First Amendment’s protections for free speech include a

constitutionally protected right to gather news.” Nicholas v. Bratton, 376 F. Supp. 3d

232, 279 (S.D.N.Y. 2019). “Without some protection for seeking out the news,

freedom of the press could be eviscerated.” Branzburg v. Hayes, 408 U.S. 665, 681

(1972). Indeed, “[t]he protected right to publish the news would be of little value in




                                          8
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 24 of 46



the absence of sources from which to obtain it.” CBS, Inc. v. Young, 522 F.2d 234,

238 (6th Cir. 1975).

      “The right to gather information plays a distinctly acute role in journalism,”

People for the Ethical Treatment of Animals, Inc. v. N.C. Farm Bureau Fed’n, Inc.,

60 F.4th 815, 829 (4th Cir. 2023) (Petition for Cert. Filed, Nos. 22-1148 & 22-1150,

(May 26, 2023), and the First Amendment “undoubted[ly]” protects the “right to

gather news from any source by means within the law.” Glik v. Cunniffe, 655 F.3d

78, 82 (1st Cir. 2011) (internal quotation marks and citation omitted). This extends

to any information that is made public, whether intentionally or inadvertently, and it

reaches even “surreptitious, confrontational, unscrupulous, and ungentlemanly”

newsgathering methods. J.H. Desnick v. Am. Broad. Cos., Inc., 44 F.3d 1345, 1355

(7th Cir. 1995).

      Those seeking to inform the public have a right to engage in “routine

newspaper reporting techniques,” Smith, 443 U.S. at 103, and they are even entitled

to procure and publish materials from sources who obtained them illegally, Bartnicki

v. Vopper, 532 U.S. 514 (2001). This holds with equal force for independent and

freelance journalists. Courts have rightly warned against limiting First Amendment

protections to established media outlets, see, e.g., Pulliam v. County of Fort Bend,

No. H-22-4210, 2022 WL 19929594 (S.D. Tex. June 30, 2023); Von Bulow by




                                          9
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 25 of 46



Auersperg v. Von Bulow, 811 F.2d 136 (2d Cir. 1987)—a warning that is especially

important as technological advances give rise to new forms of journalism. 10

      Because so much communication now takes place on the Internet, many news

sources are found online. Website operators and users routinely expose newsworthy

information to the public, either without intending to or with the expectation that no

one will notice. Just as routinely, journalists, academics, and other researchers use a

range of techniques to uncover and report that information.

      For example, in 2021, The Intercept’s Mara Hvistendahl obtained a series of

slide decks describing how Oracle markets its products for use in Chinese

surveillance. 11 She found them by running a Google search for relevant Chinese

characters, which returned links to the slide decks on Oracle’s website, even though

Oracle seemed to be unaware that the documents were accessible. 12

      In another example, an independent researcher obtained information

regarding the January 6th attack on the Capitol Building by accessing supposedly

“hidden” but publicly accessible URLs on the social media site Parler. Though users


10
   Margaret Sullivan, Every week, two more newspapers close — and ‘news
deserts’ grow larger, Wash. Post (June 29, 2022),
https://www.washingtonpost.com/media/2022/06/29/news-deserts-newspapers-
democracy/.
11
   Mara Hvistendahl, How Oracle Sells Repression in China, The Intercept (Feb.
18, 2021), https://theintercept.com/2021/02/18/oracle-china-police-surveillance/.
12
   Grayson Clary, California city backs down from misguided ‘hacking’ lawsuit
against bloggers, Reporters Committee for Freedom of Press (May 26, 2021),
https://www.rcfp.org/fullerton-ca-drops-hacking-lawsuit/.

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USCA11 Case: 23-13649        Document: 15       Date Filed: 01/02/2024   Page: 26 of 46



thought they had deleted the content, Parler continued to host it at addresses that

anyone could visit, on a series of sequential URLs, in the order that each piece had

been posted. Once obtained by the researcher, this data formed the basis for a

ProPublica analysis of live video from January 6 13 and a detailed Gizmodo map of

the location metadata tied to those posts. 14

      In the physical world, it is unremarkable that journalists might gain access to

information in ways that offend the subjects of their reporting—seeing a document

unintentionally left out in public, for example, or overhearing a conversation at a

crowded restaurant. In rare cases, this access might be legally problematic—if a

reporter participated in theft of the materials, for example. But for the most part,

these activities are familiar and accepted. This should also be true online, at least

with respect to information that is publicly available, and which the newsgatherer

himself could not reasonably be deemed to have unlawfully obtained. See Bartnicki,

532 U.S. at 535.




13
   Alec MacGilis, Inside the Capitol Riot: What the Parler Videos Reveal,
ProPublica (Jan 17, 2021), https://www.propublica.org/article/inside-the-capitol-
riot-what-the-parler-videos-reveal/.
14
   Dell Cameron and Dhruv Mehrotra, Parler Users Breached Deep Inside U.S.
Capitol Building, GPS Data Shows, Gizmodo (Jan. 12, 2021),
https://gizmodo.com/parler-users-breached-deep-inside-u-s-capitol-building-
1846042905/.

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USCA11 Case: 23-13649       Document: 15     Date Filed: 01/02/2024   Page: 27 of 46



II.   The breadth and vagueness of the CFAA and the Wiretap Act can chill
      First Amendment protected newsgathering activities, particularly where
      (as here) the government keeps its rationale for potential charges secret.

         A. The government appears to be interpreting the CFAA in a
            dangerously overbroad manner despite Supreme Court case law
            warning against overreach.

      The CFAA criminalizes accessing (1) a computer (2) “without authorization”

or by “exceed[ing] authorized access” and (3) thereby obtaining information or

causing damage or loss. See 18 U.S.C. §§ 1030(a)(2)(C), 1030(a)(5)(C). The CFAA

definition of “computer” encompasses “effectively all computers with Internet

access.” United States v. Nosal, 676 F.3d 854, 859 (9th Cir. 2012). And the

requirement of damage or loss is not necessarily a meaningful discriminator between

what most people would consider permissible and illegal conduct. 15 Therefore, how

the government defines “authorization” determines the difference between lawful

behavior and potential crimes. 16

      For many years, the DOJ pushed the view that the CFAA could cover

accessing electronically-stored information for a purpose adverse to the computer

owner’s interests, even if the access did not bypass technological barriers or


15
   See Jennifer S. Granick, Faking it: Calculating Loss in Computer Crime
Sentencing, 2 I/S - A Journal of Law and Policy for the Information Society 2
(Spring/Summer 2006) (arguing that loose definitions of “damage” and “loss” fail
to discriminate between harmful and trivial access to computer systems).
16
   Similar to the CFAA, liability for access to electronic communications under the
Stored Communications Act, 18 U.S.C. § 2701, also hinges on the definition of
“access[ing] without authorization” or “exceed[ing] authorization”.

                                        12
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 28 of 46



otherwise “break and enter.” See, e.g., Van Buren v. United States, 141 S.Ct. 1648,

1660 (2021) (government asserting that the CFAA is violated when someone

accesses a computer with authorization but for purposes to which such authorization

does not extend). Under this reading, employees who download work-related files

before quitting their jobs could be accused of illegally exceeding authorization, even

if the information were non-confidential. Van Buren, 141 S.Ct. at 1655. So, too could

employees who read the news using their work computers in violation of policies

prohibiting personal use of such resources. Id. at 1661.

      The Supreme Court rejected this interpretation in Van Buren. Holding that the

defendant police officer did not “exceed authorized access” by accessing license

plate information for an improper purpose, the Court rejected the government’s

argument that disloyal computer uses or violations of policies constitute

“unauthorized access” under the CFAA. Id. at 1662. The Court explained that such

a theory would attach “criminal penalties to a breathtaking amount of commonplace

computer activity.” Id. Because most websites and other services authorize access

only upon an agreement to follow specified terms of service, “millions of otherwise

law-abiding citizens [would become] criminals…if the ‘exceeds authorized access’

clause encompasses violations of circumstance-based access restrictions …” Id. at

1661. That, the Supreme Court held, the CFAA could not be interpreted to do.




                                         13
USCA11 Case: 23-13649         Document: 15    Date Filed: 01/02/2024   Page: 29 of 46



      And yet, if the government’s investigation in this case is premised on Burke’s

access to the Fox News livestreams, it appears to continue to apply the CFAA in an

overly broad manner. What the public knows about this investigation raises

reasonable—and, for those engaged in newsgathering, critical—questions about

whether the government deems use of a computer to collect publicly available

information to be a CFAA violation if the person who posted the information does

not want it to be accessed.

         B. The government appears to be reading the Wiretap Act in a way
            that would make access to and distribution of publicly available
            information a crime, thereby chilling First Amendment-protected
            online newsgathering.


      The Wiretap Act prohibits intentionally intercepting or disclosing wire, oral,

or electronic communications. The statute defines “electronic communications” very

broadly, including “any transfer of signs, signals, writing, images, sounds, data, or

intelligence of any nature transmitted in whole or in part by a wire, radio,

electromagnetic, photoelectronic or photooptical system . . . ” 18 U.S.C. § 2510(12).

But it does not apply to systems that are configured so that their communications are

“readily accessible to the general public.” 18 U.S.C. § 2511(2)(g).

      The statute defines “readily accessible to the general public” only as to radio

communications. It is not clear how that definition applies to electronic

communications, which presumably would include the video streams at issue here.



                                         14
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 30 of 46



Compare In re Innovatio IP Ventures, LLC Patent Litigation, No. 11-9308, 2013

WL 5593609 (N.D. Ill. Aug. 22, 2012) (holding that unencrypted Wi-Fi is accessible

to the general public) with Joffe v. Google, Inc., 746 F.3d 920 (9th Cir. 2013)

(holding that the Wiretap Act applies to unencrypted Wi-Fi-transmitted

communications). This ambiguity leaves the public guessing whether the federal

government deems accessing information from URLs that are publicly available,

even if unintentionally so, a violation of the Wiretap Act.

      In civil cases, some litigants have claimed that a URL is “non-public” when

it has not been indexed by a search engine or otherwise published or shared. Scholars

disagree, arguing that “[a] hard-to-guess URL is still a URL, and the information

posted at that address is still posted and accessible to the world.” Orin S. Kerr, Norms

of Computer Trespass, 116 Colum. L. Rev. 1143, 1164–65 (2016). Courts have taken

different sides in this debate. In a recent civil case brought under the CFAA, for

example, the district court held that—although it was a “close call”—a URL that

was inadvertently disclosed but could not have been guessed was not “readily

accessible” to the general public. Greenburg v. Wray, No. 22-00122, 2022 WL

2176499 at *2 (D. Ariz. June 16, 2022). In contrast, in another civil case brought

under the Wiretap Act and the Stored Communications Act, the court distinguished

Greenburg and held that communications in a private Facebook group were “readily

accessible to the general public” because others could apply to and be accepted into



                                          15
USCA11 Case: 23-13649          Document: 15    Date Filed: 01/02/2024   Page: 31 of 46



the group. Davis v. HDR Incorporated, 652 F. Supp. 3d 1087, 1096 (D. Ariz. 2023).

Criminal cases brought by the government do not clarify. In United States v.

Auernheimer, the government filed criminal charges regarding access to “hard to

guess” URLs. 748 F.3d 525 (3d Cir. 2014). There, the defendant had used web

scraper software to identify URLs that the computer owner, AT&T, had not expected

people to find. Id. at 530–31. The Third Circuit decided the case on venue grounds,

leaving open the question of whether the information available at these URLs was

“public” or not. Id. at 541.

      What is currently publicly known about this case only adds to the confusion.

In this case, anyone with the URL could have viewed the videos—the content was

not encrypted or otherwise secured, and the username and password that allowed

access were not only published online, but also handed out more generally in the

form of demo accounts.

          C. Journalists have good reason to fear the DOJ’s interpretations of
             the CFAA and the Wiretap Act because these laws have been used
             in the past to silence journalists for their critical coverage of
             important issues of the day.


    The public needs to know whether the DOJ decided to search Burke’s home and

newsroom, and to threaten him with criminal prosecution over a contested and

unsettled interpretation of federal statutes. It would be alarming if the government

were using a case involving constitutionally protected journalism that ultimately



                                          16
USCA11 Case: 23-13649        Document: 15       Date Filed: 01/02/2024   Page: 32 of 46



revealed highly newsworthy information as a test case for novel and controversial

legal theories. If there is more to the story that explains the government’s decision

to investigate Burke, the public needs to know, so journalists can continue reporting

without fear of investigation or prosecution.

      The fear that the government may be misusing the CFAA and Wiretap Act is

unfortunately a reasonable one. Entities that want to keep secrets, including

improperly, have used the vague language of hacking and wiretap statutes to threaten

reporters who find newsworthy information online.

      For example, in 2020, the city of Fullerton, California was using a Dropbox

account to field public records requests. Though the relevant folder was accessible

without a password to anyone who visited the URL, it contained documents that the

city intended to keep secret. 17 Friends for Fullerton’s Future, a local news blog,

downloaded newsworthy documents from the folder and published them. In

response, the city sued the reporters, arguing that accessing the Dropbox violated

state and federal anti-hacking laws. The city claimed the reporters had not been given

permission to access the documents because the URL for the Dropbox was not

published on the city website. 18 Initially a judge issued a restraining order preventing


17
   City of Fullerton v. Friends for Fullerton’s Future, No. G044597, 2012 WL
2395554 at *8 (Cal. Dist. Ct. App. June 26, 2012).
18
   Grayson Clary, California city backs down from misguided ‘hacking’ lawsuit
against bloggers, Reporters Committee for Freedom of Press (May 26, 2021),
https://www.rcfp.org/fullerton-ca-drops-hacking-lawsuit/.

                                           17
USCA11 Case: 23-13649        Document: 15        Date Filed: 01/02/2024   Page: 33 of 46



the blog from publishing the documents. For months, this prior restraint was in effect

while the reporters’ legal bills mounted. Eventually, in January of 2021, the city

dropped the suit and retracted “any and all assertions” that the defendants had “acted

illegally in accessing the documents.” 19

      In Missouri, a reporter for the St. Louis Post-Dispatch discovered a serious

flaw in a state website that put thousands of Social Security numbers at risk. He

alerted the state agency so it could fix the issue before he published the story. Instead

of thanking him, the Missouri governor called for a criminal investigation under state

computer crime laws. That case ended with a thorough rebuke of the governor by

the local prosecutor, who declined to press charges, but not before the reporter spent

four months with criminal charges hanging over his head. An exhaustive state report

found no evidence of criminality. The prosecutor said the law was so vague that it

could be abused to criminalize using “a computer to look up someone’s

information.” 20




19
   Aaron Mackey, Victory! California City Drops Lawsuit Accusing Journalists of
Violating Computer Crime Law, Elec. Frontier Found. (May 14, 2021),
https://www.eff.org/deeplinks/2021/05/victory-california-city-drops-lawsuit-
accusing-journalists-violating-computer/.
20
   Jason Hancock, Claim That Reporter Hacked State Website Was Debunked.
Parson Still Says He’s A Criminal, Missouri Independent (Feb. 23, 2022),
https://missouriindependent.com/2022/02/23/claim-that-reporter-hacked-state-
website-was-debunked-parson-still-says-hes-a-criminal/.

                                            18
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 34 of 46



      And earlier this year, scandal erupted when police officers in Marion, Kansas

raided the newsroom of the Marion County Record and the home of its publisher to

seize computers, cellphones and documents. Records show police believed the paper

broke state law in using the Internet to confirm a tip from a source about a local

restauranter’s DUI history.21 Investigators apparently believed the paper’s reporter

violated Kansas computer crime laws by checking a box to represent that she was

authorized under the Driver Privacy Protection Act (DPPA) to access driving

records, even though the DPPA authorizes research. 18 U.S.C. § 2721(b)(5). 22

        Following a huge public outcry, the prosecutor withdrew the search warrant,

citing insufficient evidence. Nevertheless, the raid severely hampered publication of

the Record and understandably scared reporters around the country. 23 It later

emerged that the paper had been investigating the police chief who spearheaded the

raid, and who later resigned due to the scandal. 24



21
   Jeanna Kuang, Missouri Prosecutor Declines To Charge St. Louis Post-Dispatch
Reporter Parson Targeted, The Kansas City Star (Jul. 18, 2022),
https://www.kansascity.com/news/politics-government/article258315738.html.
22
   Cyndi Fahrlander and Angie Ricono, Affidavits Filed For Police Raid Of Marion
County Record Released, KCTV5 (Aug. 20, 2023),
https://www.kctv5.com/2023/08/20/affidavits-filed-police-raid-marion-county-
record-released/.
23
   Farhlander and Ricono, supra note 22.
24
   Tim Cushing, Police Chief Who Headed Raid Of Kansas Newspaper Resigns
Rather Than ‘Defend His Actions’, TechDirt (Nov. 7 2023),
https://www.techdirt.com/2023/11/07/police-chief-who-headed-raid-of-kansas-
newspaper-resigns-rather-than-defend-his-actions/.

                                          19
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 35 of 46



      These cases highlight a history of powerful people, motivated by

embarrassment, using vague and sweeping computer crime laws to threaten press

freedoms. Broad interpretations of these laws—whether by investigators, appellate

courts or magistrate judges issuing search warrants—invite abuses of power and

intimidate reporters and suppress reporting. Such investigations have left journalists

uncertain about whether they can be prosecuted for routine newsgathering on the

mistaken grounds that they violated hacking or wiretap laws. 25

      There is significant public interest in Burke’s case, which has only been

magnified following the national outrage over the Marion raid. 26 Without public

access to the warrant affidavit, journalists are left to assume that finding information

powerful people do not want found might lead to a federal investigation. To avoid

chilling important and lawful investigative reporting, the affidavit must be unsealed,

so that the public can understand when the DOJ considers online newsgathering

violative of the CFAA or other federal laws.

      Even if the government is prosecuting Burke for something other than

obtaining publicly available information, the uncertainty around this investigation is


25
  Bruce D. Brown & Gabe Rottman, Claiming a ‘computer crime’ shouldn’t give
police a free pass to raid newspapers, L.A. Times (Aug. 31, 2023),
https://www.latimes.com/opinion/story/2023-08-31/kansas-newspaper-raid-
marion-county-record-computer-crime/; see also Jon Brodkin, Missouri governor
rebuffed: Journalist won’t be prosecuted for viewing HTML, Ars Technica (Feb. 14,
2022), https://arstechnica.com/tech-policy/2022/02/missouri-governor-rebuffed-
journalist-wont-be-prosecuted-for-viewing-html/; Mackey, supra note 29.

                                          20
USCA11 Case: 23-13649        Document: 15       Date Filed: 01/02/2024   Page: 36 of 46



chilling newsgathering, for “the threat of sanctions may deter . . . almost as potently

as the actual application of sanctions.” National Ass’n for Advancement of Colored

People v. Button, 371 U.S. 415, 433 (1963). For that reason alone, the affidavit

should be unsealed, with any redactions necessary to protect individual privacy,

sources, or other sensitive information.

      In addition, the affidavit will, presumably, shed light on whether the court was

informed that Burke was a journalist—and whether the government considered him

to be one. As discussed in further detail below, federal policy requires that the

government provide journalists notice before any search of their newsgathering

materials or work product occurs, and no such notice was given here.




26
  See, e.g., Rachel Olding & Lachlan Cartwright, FBI Raid on Journo’s Home
Reportedly Related to Embarrassing Tucker Carlson Vids, Daily Beast (May 26,
2023), https://www.thedailybeast.com/raid-on-journalist-tim-burkes-home-related-
to-tucker-carlson-videos-report/; Jack McCordick, FBI Raid of Tampa Journalist
Connected to Tucker Carlson Leaked Clips, Vanity Fair (May 27, 2023),
https://www.vanityfair.com/news/2023/05/tucker-carlson-leaks-fbi-investigation-
tampa-journalist/; Justin Garcia, Tim Burke and lawyers deny hacking Fox News,
demand return of devices, Tampa Bay Times (July 21, 2023),
https://www.tampabay.com/news/tampa/2023/07/21/tim-burke-tucker-carlson-fox-
news-hack-fbi-search/; Steven Lee Myers & Benjamin Mullin, Raid of Small
Kansas Newspaper Raises Free Press Concerns, N.Y. Times (Aug. 13, 2023),
https://www.nytimes.com/2023/08/13/business/media/kansas-marion-newspaper-
police-raid.html/; Kim Zetter, Did a Journalist Violate Hacking Law to Leak Fox
News Clips? The Government Thinks He Did, Zero Day (Aug. 17, 2023),
https://www.zetter-zeroday.com/p/did-a-journalist-violate-hacking/.

                                           21
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 37 of 46



         D. The public is entitled under the common law to see the warrant
            affidavit, with any redactions necessary to protect individual
            privacy, sources, or other sensitive information.


      The public’s common-law right of access requires the same result. The general

presumption under the common law is that “the public has a right of access to judicial

materials.” In re Avandia Mktg., Sales Pracs. & Prods. Liab. Litig., 924 F.3d 662,

672 (3d Cir. 2019). This right “promotes public confidence in the judicial system by

enhancing testimonial trustworthiness and the quality of justice dispensed by the

court.” Id. (quoting Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1988)).

      “Courts have uniformly held that the party seeking to have court documents

restricted from public access has the burden of establishing that the presumption of

public records should be overcome, and that the burden is a heavy one.” Lipocine

Inc. v. Clarus Therapeutics, Inc., No. 19-622, 2020 WL 4569473, at *3 (D. Del.

Aug. 7, 2020) (collecting cases). The opponent of access must show that the

“material is the kind of information that courts protect and that disclosure will work

a clearly defined and serious injury to the party seeking disclosure.” Avandia, 924

F.3d at 672 (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)).

      This Court can accommodate the government’s concerns about revealing

investigative details through redactions. Disclosing the basis for an investigation

does not automatically harm government interests. To the contrary, it would serve

the government’s interest in enhancing public trust in the criminal process, and in


                                         22
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 38 of 46



ensuring that reporting in the public interest can continue uninhibited. The public

needs to know whether the government views the kind of online newsgathering at

issue here as legitimate. It is hard to say that the risk of public accountability is a

harm justifying judicial secrecy.

       Moreover, any harm to the government’s investigation is waning every day.

Prosecutors have had ample time since May 2023, when they executed the search

warrant, to pursue whatever avenues they believe necessitated sealing. To the extent

that the affidavit includes information that, if revealed, would compromise ongoing

police work regarding other suspects, that information can be redacted while

ensuring that journalists and the public learn whether officials view gathering

publicly-available information using electronic means as unlawful.

III.   The government should return seized materials that are not related to
       the case and should copy or otherwise allow access to materials that
       enable Burke to fulfill his newsgathering function.

       Amici do not have access to information regarding the specific materials

seized from Burke that have yet to be returned or why specific items were seized,

but Burke has contended that the seizure far exceeded what was permitted by the

warrant. Even assuming the government is investigating a crime unrelated to

newsgathering, and that some limited seizure is permissible, exacting care must be

taken to ensure that no more newsgathering material is withheld from Burke than is

absolutely necessary, and that it is withheld for no longer than necessary. It does not



                                          23
USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 39 of 46



appear that the government has taken Burke’s newsgathering activities into account

in conducting this investigation. That failure demonstrates “callous disregard” for

Burke’s First Amendment rights, and Burke has met the standard for return of his

property under the Richey test.

       A. Constitutional law and federal policy require that seizures of
          materials related to newsgathering be limited.

       The First Amendment’s “chief purpose” is to prevent “previous restraints

upon publication.” Near v. Minnesota ex rel. Olson, Co. Atty, 283 U.S. 697, 713

(1931). Delays in publication, like “[t]he loss of [any] First Amendment freedoms,”

even if they last “for . . . minimal periods of time, unquestionably constitute[]

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373-74 (1976).

       Because seizures of materials related to newsgathering run “[t]he risk of prior

restraint,” they cannot be justified by probable cause alone. Fort Wayne Books Inc.,

v. Indiana, 489 U.S. 46, 63 (1989) (citing authorities). Instead, the Fourth

Amendment’s warrant requirement must be applied with “scrupulous exactitude”

when the government seeks journalists’ constitutionally protected newsgathering

materials. Zurcher v. Stanford Daily, 436 U.S. 547, 564 (1978). And the government

must not interfere with timely publication of news or rummage through reporters’

files. Id. at 566. 27


27
  The government claims that a team was assigned to filter privileged materials
seized from Burke’s home. Rep. to Mot. for Req. for Oral Arg. 3, ECF No. 33. The

                                         24
USCA11 Case: 23-13649        Document: 15       Date Filed: 01/02/2024   Page: 40 of 46



      The First Amendment additionally requires that, in the rare event that they’re

permissible at all, infringements on journalists’ ability to report news be narrowly

tailored, in terms of both scope and duration. See Buckley v. Valeo, 424 U.S. 1 (1976)

(requiring “exacting” scrutiny, even for “indirect[]” infringements). For example,

the D.C. Circuit has held that a “full field investigation” carried out against a library

employee violated the First Amendment because the expansive inquiry was not the

least restrictive means available to investigate the alleged wrongdoing. Clark v.

Library of Congress, 750 F.2d 89, 92-95 (D.C. Cir. 1984). And the Second Circuit

dramatically scaled back a government agency subpoena because its scope would

have impaired the First Amendment right of members of the targeted union. Local

1814 v. Waterfront Commission of N.Y. Harbor, 667 F.2d 267, 270 (2d Cir. 1981).

      Federal law further bolsters this protection. Despite Zurcher’s limitations on

newsroom searches and seizures, Congress was so disturbed that the Supreme Court

allowed a search at all that it passed the Privacy Protection Act (PPA) in response.

S. Comm. on the Judiciary, 96th Cong., S. Rep. No. 96-874 (July 28, 1989). In

recognition of the constitutionally-protected role of newsgathering, the PPA makes

it unlawful to “search for or seize any work product materials possessed by a person


government has not publicly explained how this process worked. Particularly given
the government’s baseless denials that Burke is a journalist (Rep. to Mot. for Req.
for Oral Arg. 12, ECF No. 33), it is unclear whether it even included filtering of
journalist-source communications as opposed to other potentially privileged
materials, such as communications relating to Burke’s wife’s political office.

                                           25
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 41 of 46



reasonably believed to have a purpose to disseminate to the public a newspaper,

book, broadcast, or other similar form of public communication, in or affecting

interstate or foreign commerce,” except when investigating crimes unrelated to the

“receipt, possession, communication, or withholding of such materials or the

information contained therein.” 42 U.S.C. § 2000aa(a)-(b).

      Additionally, the DOJ’s “Policy Regarding Obtaining Information from or

Records of Members of the News Media; and Regarding Questioning, Arresting, or

Charging Members of the News Media” (the News Media Policy) states that, subject

to limited exceptions, the DOJ will not “use compulsory legal process [including

search warrants] for the purpose of obtaining information from or records of

members of the news media acting within the scope of newsgathering.” 28 C.F.R. §

50.10(a)(2). The News Media Policy states that “[a]ll authorizations pursuant to this

section must comply” with the PPA. 28 C.F.R. § 50.10(q). It includes a presumption

that affected journalists will be notified before the department attempts to seize their

records, with very limited exceptions. 28 C.F.R. § 50.10(j). This presumption can be

overcome only when “the Attorney General determines that, for compelling reasons,

such notice would pose a clear and substantial threat to the integrity of the

investigation, risk grave harm to national security, or present an imminent risk of

death or serious bodily harm.” 28 C.F.R. § 50.10(g)(ii). Notice provides journalists




                                          26
USCA11 Case: 23-13649        Document: 15     Date Filed: 01/02/2024   Page: 42 of 46



the opportunity to assert their rights before the government seizes any data or

documents. Burke did not receive notice.

            B. The government has minimized the importance of safeguards it
               originally touted as meaningful protections for reporters, raising
               important questions about whether it is following rules journalists
               rely on.

      The PPA, News Media Policy, and the First Amendment should all inform the

Court’s analysis of whether the government was permitted to search and seize

Burke’s newsgathering materials, as well as the permissible scope and duration of

any interference with Burke’s newsgathering. Instead, the government attempts to

reduce the PPA and News Media Policy to procedural technicalities, arguing about

whether they create standalone defenses. Rep. to Mot. for Req. for Oral Arg. 15,

ECF No. 33. The government’s myopic focus ignores the constitutional impetus for

both the PPA and News Media Policy, which recognize that newsgathering records

are protected from seizure by the First Amendment in addition to the Fourth. See 28

C.F.R. § 50.10(a)(1) (“Because freedom of the press can be no broader than the

freedom of members of the news media to investigate and report the news, the

Department’s policy is intended to provide protection to members of the news

media.”).

      Further, while the government has vaguely claimed that it fully complied with

the News Media Policy, it is unclear whether that is because the government

concluded that the Policy does not apply to Burke at all, or because it believes an


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USCA11 Case: 23-13649       Document: 15      Date Filed: 01/02/2024   Page: 43 of 46



exception in the policies permitted the search and seizure of Burke’s work product

and documentary materials. 28

      The possibility that the government might not have considered Burke to be

protected by the News Media Policy is especially worrisome. In the court below, the

government took the position that Burke should not be considered a “member of the

news media” who is “acting within the scope of newsgathering,” despite the fact that

the court had twice rightly acknowledged Burke’s status as a member of the media. 29

In support of its position, the government claimed that Burke had not recently

published under his own byline, does not work for an established media outlet, and

sometimes used job titles other than “journalist.”

      Of course, one does not need to work full-time as a journalist to engage in

protected journalism. The PPA protects anyone “with a purpose to disseminate”

information to the public, regardless of whether their own byline is attached. It is

quite common for journalists—including freelancers, producers, researchers,

editors, news services, and consultants—to provide research and documents for

stories they do not themselves write. That does not deprive them of constitutional

protection. Nor would the fact that they primarily gather information from online


28
   The district court, in its order denying Burke’s motion to unseal, appears to take
the government at its word that it complied with the policy without questioning the
basis for its representation. Order Den. Mot. to Unseal 12 n.6, ECF No. 35
29
   Order Den. Mot. to Unseal 3, ECF No. 23; Order Den. Mot. to Unseal 1, ECF
No. 35.

                                         28
USCA11 Case: 23-13649        Document: 15      Date Filed: 01/02/2024   Page: 44 of 46



sources. There is substantial public interest in disclosing how the government

determines who is and is not a journalist, particularly given the troublingly irrelevant

factors it cited to the court below.

                                   CONCLUSION

      For the foregoing reasons, this Court should unseal the search warrant

materials in this case, with any necessary redactions, and order the government to

return seized materials unrelated to any legitimate investigation, while also

providing Burke access to seized items that enable his ongoing newsgathering.

DATED this January 2, 2024                  Respectfully Submitted,

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                                          29
USCA11 Case: 23-13649   Document: 15    Date Filed: 01/02/2024   Page: 45 of 46



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                                   30
USCA11 Case: 23-13649      Document: 15      Date Filed: 01/02/2024   Page: 46 of 46



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                                        31
